          Case 2:19-bk-19146-WB                     Doc 66 Filed 01/24/20 Entered 01/24/20 15:36:48                                     Desc
                                                     Main Document Page 1 of 6

 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Ure Law Firm
 800 West 6th Street, Suite 940                                                                          FILED & ENTERED
 Los Angeles, CA 90017
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 Thomas B. Ure, SBN 170492                                                                                       JAN 24 2020
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                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY bryant     DEPUTY CLERK




     Attorney for Movant Debtor
     Movant appearing without an attorney

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:19-bk-19146-WB
                                                                              CHAPTER: 11
 COREY DEMON SIMS
                                                                                        ORDER GRANTING MOTION FOR
                                                                                        RELIEF FROM THE AUTOMATIC
                                                                                         STAY UNDER 11 U.S.C. § 362
                                                                                             (REAL PROPERTY)

                                                                              DATE: January 14, 2020
                                                                              TIME: 10:00 a.m.
                                                                              COURTROOM: 1375
                                                                              PLACE: 255 E. Temple Street, Los Angeles, CA 90012


                                                              Debtor(s).

 Movant: DANCO INC



1. The Motion was:                  Opposed               Unopposed                Settled by stipulation




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June 2014                                                                 Page 1                                         F 4001-1.RFS.RP.ORDER
         Case 2:19-bk-19146-WB                     Doc 66 Filed 01/24/20 Entered 01/24/20 15:36:48                                     Desc
                                                    Main Document Page 2 of 6

2. The Motion affects the following real property (Property):

    Property #1
    Street address:        3246 Euclid Ave
    Unit/suite number:
    City, state, zip code: Lynwood, CA 90262

    Legal description or document recording number (including county of recording):

    20140340441, Los Angeles County, California

         See attached page.

   Property #2
   Street address:              19323 Lavy Ct.
   Unit/suite number:
   City, state, zip code:       Tarzana, CA 91356

    Legal description or document recording number (including county of recording):

    20140340441, Los Angeles County, California


         See attached page.

   Property #3
   Street address:              1320 West 53rd St.
   Unit/suite number:
   City, state, zip code:       Los Angeles, CA 90037

    Legal description or document recording number (including county of recording):

    20140340441, Los Angeles County, California


         See attached page.


3. The Motion is granted under:
    a.         11 U.S.C. § 362(d)(1)
    b.         11 U.S.C. § 362(d)(2)
    c.         11 U.S.C. § 362(d)(3)
    d.         11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
               creditors that involved:
         (1)        The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                    secured creditor or court approval; and/or
         (2)        Multiple bankruptcy cases affecting the Property.
         (3)        The court        makes      does not make         cannot make
                    a finding that the Debtor was involved in this scheme.
         (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
             order shall be binding in any other case under this title purporting to affect the Property filed not later than 2
             years after the date of the entry of this order by the court, except that a debtor in a subsequent case under
             this title may move for relief from this order based upon changed circumstances or for good cause shown,
             after notice and a hearing. Any federal, state or local government unit that accepts notices of interests or


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June 2014                                                                Page 2                                         F 4001-1.RFS.RP.ORDER
           Case 2:19-bk-19146-WB                     Doc 66 Filed 01/24/20 Entered 01/24/20 15:36:48                                     Desc
                                                      Main Document Page 3 of 6

                liens in real property shall accept any certified copy of this order for indexing and recording.

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.        Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.        Modified or conditioned as set forth in Exhibit A to this order.
      c.        Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                remedies regarding the Property do not constitute a violation of the stay.

5.         Movant may enforce its remedies to foreclose upon and obtain possession of the Property in accordance with
           applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or property of the
           estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.         Movant must not conduct a foreclosure sale of the Property before (date)                                       .

7.         The stay shall remain in effect subject to the terms and conditions set forth in the Adequate Protection Agreement
           contained within this order.

8.         In chapter 13 cases, the trustee must not make any further payments on account of Movant’s secured claim after
           entry of this order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this order without
           prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
           the contrary, Movant must return to the trustee any payments received from the trustee on account of Movant’s
           secured claim after entry of this order.

9.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, as
           to the same terms and conditions as to the Debtor.

10.        The 14-day stay as provided in FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
    of the Bankruptcy Code.

12. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
    modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its servicing
    agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.




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June 2014                                                                  Page 3                                         F 4001-1.RFS.RP.ORDER
            Case 2:19-bk-19146-WB                     Doc 66 Filed 01/24/20 Entered 01/24/20 15:36:48                                     Desc
                                                       Main Document Page 4 of 6

13. Upon entry of this order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
    Code § 2920.5(c)(2)(C).
14.         A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
15.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
            180 days, so that no further automatic stay shall arise in that case as to the Property.
16.         This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
17.         This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
18.         Other (specify):




                                                                             ###




                    Date: January 24, 2020




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June 2014                                                                   Page 4                                         F 4001-1.RFS.RP.ORDER
          Case 2:19-bk-19146-WB                     Doc 66 Filed 01/24/20 Entered 01/24/20 15:36:48                                     Desc
                                                     Main Document Page 5 of 6

                                       ADEQUATE PROTECTION AGREEMENT
                                (This attachment is the continuation page for paragraph 7 of this order.)

The stay remains in effect subject to the following terms and conditions:

1.        The Debtor tendered payments at the hearing in the amount of $                                                .

2.        The Debtor must make regular monthly payments in the amount of $1,129.85 commencing (date) 02/01/2020.
          The amount of these payments may be subject to change under the terms of the parties’ original agreements. All
          payments due Movant under this Adequate Protection Agreement must be paid to Movant at the following
          address:

          Danco Inc.
          2476 Overland Ave., #203
          Los Angeles, CA 90064

3.        The Debtor must cure the postpetition default computed through                                      in the sum of
          $                      as follows:

     a.        In equal monthly installments of $                                      each commencing (date)                             and
               continuing thereafter through and including (date)                            .
     b.        By paying the sum of $                                     on or before (date)                       ,
     c.        By paying the sum of $                                     on or before (date)                       ,
     d.        By paying the sum of $                                     on or before (date)                       ,
     e.        Other (specify):



4.        The Debtor must maintain insurance coverage on the Property and must remain current on all taxes that fall due
          postpetition with regard to the Property.

5.        The Debtor must file a disclosure statement and plan on or before (date)
          The disclosure statement must be approved on or before (date)
          The plan must be confirmed on or before (date)

6.        Upon any default in the terms and conditions set forth in paragraphs 1 through 5 of this Adequate Protection
          Agreement, Movant must serve written notice of default to the Debtor and the Debtor’s attorney, if any. If the
          Debtor fails to cure the default within 14 days after service of such written notice:

     a.        The stay automatically terminates without further notice, hearing or order.
     b.        Movant may file and serve a declaration under penalty of perjury specifying the default, together with a
               proposed order terminating the stay, which the court may grant without further notice or hearing.
     c.        The Movant may move for relief from the stay upon shortened notice in accordance with LBRs.
     d.        The Movant may move for relief from the stay on regular notice.

7.        Notwithstanding anything contained in this Adequate Protection Agreement to the contrary, the Debtor shall be
          entitled to a maximum of (number) _three (3)_ notices of default and opportunities to cure pursuant to the
          preceding paragraph. Once the Debtor has defaulted this number of times on the obligations imposed by this
          order and has been served with this number of notices of default, Movant is relieved of any obligation to serve
          additional notices of default or to provide additional opportunities to cure. If an event of default occurs thereafter,
          Movant will be entitled, without first serving a notice of default or providing the Debtor with an opportunity to cure,
          to file and serve a declaration under penalty of perjury setting forth in detail the Debtor’s failures to perform under


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June 2014                                                                 Page 5                                            F 4001-1.RFS.RP.ORDER
        Case 2:19-bk-19146-WB                     Doc 66 Filed 01/24/20 Entered 01/24/20 15:36:48                                     Desc
                                                   Main Document Page 6 of 6

        this Adequate Protection Agreement, together with a proposed order terminating the stay, which the court may
        enter without further notice or hearing.

8.      This Adequate Protection Agreement is binding only during the pendency of this bankruptcy case. If, at any time,
        the stay is terminated with respect to the Property by court order or by operation of law, this Adequate Protection
        Agreement ceases to be binding and Movant may proceed to enforce its remedies under applicable
        nonbankruptcy law against the Property and/or against the Debtor.

9.      If Movant obtains relief from stay based on the Debtor’s defaults under this Adequate Protection Agreement, the
        order granting such relief will contain a waiver of the 14-day stay as provided in FRBP 4001(a)(3).

10.     Movant may accept any and all payments made pursuant to this order without prejudice to or waiver of any rights
        or remedies to which Movant would otherwise have been entitled under applicable nonbankruptcy law.

11.     Other (specify):




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June 2014                                                               Page 6                                         F 4001-1.RFS.RP.ORDER
